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                      NorCal Tea Party, et. al. v. IRS, et. al.          Attachment A
                            Principal Class Members
     Entity Name
 1   10TH AMENDMENT FOUNDATION, INC.
 2   1776 NATION, INC.
 3   1776 TEA PARTY
 4   4 CORNERS LIBERTY RESTORATION GROUP
 5   912 LANE COUNTY
 6   912 PROJECT FORT WORTH, INC.
 7   912 PROJECT OF BURLINGTON COUNTY
 8   A CONSERVATIVE WORD
 9   AAOL AMERICANS AGAINST OPPRESSIVE
10   ABU EDUCATION FUND
11   ACROSS THE AISLE FOUNDATION
12   ACTION COMMITTEE FOR TOMORROW
13   ACTIVE LIBERTY ALLIANCE INC
14   ACTRIGHT ACTION
15   ACTRIGHT EDUCATIONAL TRUST FUND
16   ADP ACTION, INC.
17   ALABAMA FAIRTAX EDUCATIONAL ASSOCIATION INC.
18   ALEC NOW
19   ALEXANDER HAMILTON INSTITUTE FOR
20   ALLEN AREA PATRIOTS
21   ALLEN WEST FOUNDATION
22   ALLIANCE FOR A BETTER GEORGIA INC
23   ALLIANCE FOR A BETTER UTAH INC
24   ALLIANCE FOR SELF-GOVERANCE
25   AMERICA IS NOT STUPID INC
26   AMERICAN ACADEMY FOR CONSTITUTIONAL EDUCATION,
     INC.
27   AMERICAN EGYPTIAN STRATEGIC ALLIANCE
28   AMERICAN FREEDOM AND ENTERPRISE FOUNDATION, INC.
29   AMERICAN GREATNESS INC
30   AMERICAN JUNTO INC
31   AMERICAN LEADERSHIP COUNCIL
32   AMERICAN OPPORTUNITY PROJECT
33   AMERICAN PATRIOT
34   AMERICAN PATRIOTS FOR CONSERVATIVE ACTION, INC.
35   AMERICAN SOLUTIONS FOR WINNING THE FUTURE
36   AMERICAN TEA PARTY CONGRESS A NJ NONPROFIT CORP
37   AMERICAN VOICE FOR FREEDOM INC
38   AMERICANS FOR RESPONSIBLE LEADERSHIP
39   AMERICA'S TRUST, INC.
40   ARIZONA CITIZENS UNITED
41   ARIZONA PATRIOTS ALLIANCE INC
42   ARIZONA STATE FAIRTAX
43   ARKANSANS FOR COMMON SENSE
44   ARKANSAS CAMPAIGN FOR LIBERTY
45   ASHEVILLE TEA PARTY, INC.


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                             Principal Class Members
46   ASSOCIATION TO REDUCE THE NATIONAL DEBT INC
47   AUTONOMOUS SOLIDARITY ORGANIZATION INC
48   BALANCE AMERICA, INC.
49   BALANCED BUDGET AMENDMENT NOW, INC.
50   BAYSHORE TEA PARTY FOUNDATION
51   BEARS EARS TEA PARTY PATRIOTS
52   BEDFORD COUNTY PATRIOTS
53   BEND THE ARC JEWISH ACTION INC
54   BETTER GEORGIA INC
55   BRIGHTER FUTURE ALLIANCE
56   CALIFORNIANS AGAINST HIGHER HEALTH COSTS
57   CALIFORNIANS AGAINST OUT-OF-CONTROL
58   CALIFORNIANS FOR REGULATORY REFORM
59   CAMPAIGN CONSTITUTION
60   CAMPAIGN FOR LIBERTY FOUNDATION, INC
61   CAMPAIGN FOR VERMONT PROSPERITY INC
62   CAPE 912 INC. (shows status of 01 and 04 in EDS)
63   CARLESON CENTER ACTION FUND
64   CATHOLIC ADVOCATE
65   CATHOLIC ADVOCATE EDUCATIONAL FUND
66   CECIL COUNTY PATRIOTS INC
67   CENTER FOR AMERICAN FREEDOM
68   CENTER FOR NEW IDEAS INC
69   CENTERMOVEMENT ORG-THE INTERNET JOURNAL (a/k/a
     "The Clean Government Alliance")
70   CHANGE ILLINOIS
71   CHATTANOOGA ORGANIZED FOR ACTION
72   CHRISTIAN LAW INSTITUTE, INC.
73   CINCINNATI 9 12 PROJECT, INC.
74   CITIZEN AWARENESS PROJECT INC
75   CITIZEN IMPACT USA, INC.
76   CITIZEN MEDIA
77   CITIZEN OPINION INC
78   CITIZENS COMMITTED TO FISCAL RESPONSIBILITY, INC.
79   CITIZENS FOR A BETTER ARIZONA
80   CITIZENS FOR A SOUND GOVERNMENT
81   CITIZENS FOR BETTER GOVERNMENT
82   CITIZENS FOR FAIR LEGAL ELECTIONS
83   CITIZENS FOR PROSPERITY AND REFORM
84   CITIZENS FOR PROSPERITY AND REFORM MOVEMENT
85   CITIZENS FOR RESPONSIBLE GOVERNMENT
86   CITIZENS FOR RESPONSIBLE GROWTH & TAXATION
87   CITIZENS PROTECTING TAXPAYERS INC
88   CITIZENS UNITED FOR PROGRESS
89   CLARK FORK VALLEY TEA PARTY
90   CLEAR INFORMATION COLORADO
91   CLINTON COUNTY TEA PARTY


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                      NorCal Tea Party, et. al. v. IRS, et. al.          Attachment A
                            Principal Class Members
 92 COALITION FOR A CONSERVATIVE MAJORITY COLORADO
    SPRINGS
 93 COALITION FOR A CONSERVATIVE MAJORITY DENVER
    CHAPTER
 94 COALITION FOR AMERICAN VALUES ACTION
 95 COALITION OF ENERGY USERS
 96 COALITION TO REDUCE SPENDING INC
 97 COFFEE PARTY USA
 98 COLORADO WOMENS ALLIANCE
 99 COMEBACK AMERICA INITIATIVE, INC.
100 COMMITTEE FOR A FAIR AND BALANCED MAP
101 COMMITTEE FOR A FAIR JUDICIARY
102 COMMITTEE TO REFORM CONGRESS INC
103 COMMON CENTS AND REASON
104 COMMON SENSE COALITION FOR CHANGE
105 COMMON SENSE COLORADO
106 COMMUNITIES UNITED TRAINING AND EDUCATION FUND
    INC
107 COMMUNITY GROOVE
108 COMPACT FOR AMERICA INC
109 CONCERNED CITIZENS OF IOWA COUNTY INC
110 CONCERNED NATION, INC.
111 CONDUIT FOR COMMERCE, INC.
112 CONSERVATIVE GRASS ROOTS
113 CONSERVATIVE ROUNDTABLE OF TEXAS
114 CONSERVATIVE WOMEN FOR A BETTER FUTURE, INC.
115 CONSERVATIVES FOR AMERICAN RENEWAL AND
    EXCEPTIONALISM, INC.
116 CONSERVATIVES FOR TRUTH IN POLITICS
117 CONSERVE OUR REPUBLICS DIGNITY
118 CONSTITUTION COUNTS INC
119 CONSTITUTION EDUCATION FOUNDATION
120 CONSTITUTIONAL CONGRESS INC
121 CONSUMER RIGHTS WISCONSIN INC
122 CONTRACT FROM AMERICA FOUNDATION
123 CORPORATE ACCOUNTABLILITY PROJECT (a/k/a Corporate
    Action Network)
124 CROSSROADS GRASSROOTS POLICY STRATEGIES
125 CVFC (approved as CVFC 501(c)(4))
126 DALLAS TEA PARTY, INC.
127 DAYTON TEA PARTY, INC.
128 DEMAND PROGRESS ACTION INC
129 DEMOCRACYATWORK INFO INC
130 DISSIDENT PROF EDUCATION PROJECT INC
131 DON'T TREAD ON MY BUSINESS
132 DUO FREEDOMIST PARTY
133 DUPAGE TEA PARTY


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                      NorCal Tea Party, et. al. v. IRS, et. al.          Attachment A
                             Principal Class Members
134   ECONOMIC INNOVATION INSTITUTE
135   EL DORADO HILLS EDUCATIONAL ORGANIZATION
136   ELECTION PROTECTION ACTION INC.
137   ESSEX TEA PARTY
138   EVERYDAY PATRIOTS
139   FAITH AND CIVICS ALLIANCE OF WASHINGTON
140   FAITH AND FREEDOM COALITION OF OHIO, INC.
141   FINDLAY 912 PROJECT INC
142   FIRST COAST TEA PARTY, INC.
143   FIRST FREEDOMS FOUNDATION OF SOUTH DAKOTA
144   FLAGSTAFF TEA PARTY-ROCN
145   FOOD NOT BOMBS FREE SKOOL, INC
146   FOUNDATION FOR JUSTICE FOR ALL INC
147   FOUNDATION FOR MICHIGAN FREEDOM
148   FOUNDERS VALUES INC
149   FREE CONGRESS ACTION, INC.
150   FREE STATE PROJECT INC
151   FREEDOM CLUB
152   FREEDOM FEDERATION, INC.
153   FREEDOM PATH INC.
154   FREEDOM PIONEERS
155   FREEDOM PLAINS
156   FREEDOM TRAIL
157   FRIENDS OF ABE
158   FRIENDS OF THE CONSTITUTION
159   FRONTIERS OF FREEDOM INSTITUTE INC
160   FUND FOR THE REPUBLIC
161   GEORGIA TEA PARTY, INC.
162   GEORGIANS FOR SMART BUSINESS INC
163   GIVE ME LIBERTY FOUNDATION
164   GOV AT HOME
165   GOVERNMENT ACCOUNTABILITY FOUNDATION
166   GOVERNMENT ACCOUNTABILITY INSTITUTE
167   GRANTVILLE ACTION GROUP
168   GREAT COMMUNICATORS FOUNDATION
169   GREATER LOWCOUNTRY REPUBLICAN CLUB
170   GREATER PIEDMONT TEA PARTY
171   GREENWICH TEA PARTY PATRIOTS OF SOUTH JERSEY LLC

172   GRIMES COUNTY TEA PARTY
173   HAMPTON ROADS TEA PARTY, INC.
174   HEALTH CARE COMPACT, INC.
175   HEALTHCARE IN ACTION INC
176   HUMBLE INC
177   IDAHO RIGHTS FOUNDATION, INC.
178   ILLINOIS PARTNERS FOR HUMAN SERVICE



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                      NorCal Tea Party, et. al. v. IRS, et. al.          Attachment A
                              Principal Class Members
179 INDEPENDENT TEA PARTY PATRIOTS (a/k/a Independents for
    Responsible Government)
180 INDIAN RIVER TEA PARTY, INC.
181 INDIANA FORWARD
182 INNITIATIVE FOR EXCELLENCE IN PUBLIC SERVICE, INC
183 INSIGHT AMERICA UNITED
184 INTEAPARTY COM, INC.
185 INTERSECTIONS, INC.
186 IOWA FAITH AND FREEDOM COALITION
187 IOWANS FOR GROWTH AND DEVELOPMENT
188 IVOTE INC
189 JOB CREATORS ACTION FUND
190 JUST LIBERTY INCORPORATED
191 KANSANS UNITED IN VOICE & SPIRIT INC
192 KANSAS CITY CAMPAIGN FOR LIBERTY
193 KANSAS PEOPLES ACTION INC
194 KATY TEA PARTY
195 KENTUCKY CAMPAIGN FOR LIBERTY
196 KING STREET PATRIOTS
197 KITCHEN CABINET
198 KSP TRUE THE VOTE
199 LAKELAND 9-12 PROJECT INC
200 LAS CRUCES TEA PARTY
201 LEAGUE OF WOMEN VOTERS OF CALIFORNIA
202 LEAGUE OF AMERICAN VOTERS
203 LEAGUE OF LATIN AMERICAN CITIZENS
204 LEAGUE OF WOMEN VOTERS OF CENTRAL VERMONT
205 LEAGUE OF WOMEN VOTERS OF HAWAII
206 LEHIGHTON 912 PROJECT INC
207 LIBERTAS INSTITUTE
208 LIBERTY AND ACCESS FOR ALL
209 LIBERTY COUNSEL ACTION, INC.
210 LIBERTY MARKETS FUND FOR FREEDOM
211 LIBERTY SOUTHWEST
212 LOS BANOS TEA PARTY PATRIOTS, INC.
213 LOUISIANA CAMPAIGN FOR LIBERTY
214 LOUISIANA LEGISLATIVE BLACK CAUCUS
215 LOUISIANA PROGRESS ACTION FUND, INC.
216 LOUISVILLE GRASSROOTS TEA PARTY, INC.
217 MAKE OHIO GREAT
218 MARCO GROUP
219 MEDIA TRACKERS WISCONSIN INC
220 MIAMI COUNTY LIBERTY, INC.
221 MICHIGAN FAITH AND FREEDOM COALITION
222 MID-COAST TEA PARTY PATRIOTS, INC.
223 MIDDLE CLASS TAXPAYERS ASSOCIATION
224 MIDDLE CLASS TAXPAYERS FOUNDATION


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                      NorCal Tea Party, et. al. v. IRS, et. al.          Attachment A
                                 Principal Class Members
225 MINNESOTA CAMPAIGN FOR LIBERTY
226 MINORITY LIBERTY ALLIANCE
227 MISSISSIPPI CENTER FOR VOTER INFORMATION, INC.
228 MISSOURI CAMPAIGN FOR LIBERTY
229 MISSOURIANS FOR FAIR TAXATION
230 MODERN REPUBLICAN FOUNDATION
231 MONTANA CONSERVATIVE ALLIANCE
232 MONTANA TEA PARTY, INC.
233 MONTGOMERY COUNTY PEACE ACTION
234 MORE JOBS NOT TAXES
235 MOVEMENT RESOURCE GROUP INC
236 MOVING OHIO FORWARD
237 NATIONAL ALLIANCE OF CONCERNED AMERICANS FOR
    WELLBEING OF ALL
238 NATIONAL COUNCIL OF JEWISH WOMEN DEERFIELD BEACH

239   NATIONAL INDIAN AMERICAN PUBLIC POLICY CORP
240   NATIONAL TEA PARTY GROUP
241   NATIVE AMERICAN FINANCIAL SERVICES ASSOCIATION
242   NDCC INC
243   NEBRASKA TAXPAYERS FOR FREEDOM
244   NEVADA COUNTY TEA PARTY PATRIOTS
245   NEW AMERICAN ECONOMY ACTION FUND (a/k/a Partnership
      for a New American Action Fund Inc.)
246   NEW CENTURION FOUNDATION
247   NEW FOUNDERS OF FREEDOM
248   New Roosevelt Foundation (a/k/a EFFECTIVE NEW YORK
      FOUNDATION, INC)
249   NEW YORKERS FOR GOOD GOVERANCE INC
250   NEXT MINNESOTA
251   NFIB THE VOICE OF FREE ENTERPRISE
252   NICOLAS BERGGRUEN INSTITUTE
253   NORCAL TEA PARTY PATRIOTS
254   NORTH CAROLINA REPUBLICAN ATTORNEYS ASSOCIATION

255   NORTH HOUSTON TEA PARTY PATRIOTS, INC.
256   NORTHEAST OHIO VOTER ADVOCACY INC
257   NORTHERN SHENANDOAH VALLEY TEA PARTY
258   NORTHWEST COLORADO ALLIANCE, INC
259   NORTHWEST MONTANA PATRIOTS ASSOCIATION INC
260   NPAC LEADERSHIP FORUM INC (a/k/a The Network of Politically
      Active Christians Leadership Forum Inc)
261   NU WORLD OUTREACH, INC.
262   OAK INITIATIVE, INC.
263   OCCUPY THE ROADS
264   OCEAN STATE TEA PARTY IN ACTION
265   ODESSA TEA PARTY, INC.


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                             Principal Class Members
266 OHIO FIRST FOR A BETTER GOVERNMENT, INC.
267 OHIO LIBERTY COUNCIL CORP
268 OHIOANS FOR HEALTHCARE FEEEDOM, INC.
269 OKLAHOMAN'S FOR LIBERTY
270 ONE GENERATION AWAY
271 ONE IN A MILLION INC
272 OPENSKY POLICY INSTITUTE
273 OREGON 912 PROJECT INC
274 OTTAWA COUNTY PATRIOTS, INC
275 OUR AMERICA INITIATIVE
276 PARTNERSHIP FOR AMERICA
277 PATRIOTS OF CHARLESTON
278 PATRIOTS UNITED NFP
279 PEACE ACTION OF SAN MATEO COUNTY
280 PENNSYLVANIA COALITION FOR RESPONSIBLE
    GOVERNMENT
281 PENNSYLVANIA NEIGHBORHOODS FOR SOCIAL JUSTICE INC

282   PEOPLES TEA PARTY CORP
283   PORTAGE COUNTY TEA PARTY, INC.
284   PRESCOTT TEA PARTY LLC
285   PRIVATE SECTOR SOLUTIONS NETWORK
286   PROGRESS FLORIDA EDUCATION CENTER INC
287   PROGRESS FLORIDA EDUCATION INSTITUTE INC
288   PROGRESS MISSOURI EDUCATION FUND
289   PROGRESS MISSOURI INC
290   PROGRESS TEXAS
291   PROGRESSNOW
292   PROGRESSNOW NEW MEXICO
293   PROGRESSNOW NEW MEXICO EDUCATION FUND
294   PROPER ROLE OF GOVERNMENT EDUCATION ASSOCIATION

295   PROTECTING AMERICAN VALUES, INC.
296   PUBLIC AWARENESS MINISTRIES
297   PUBLIC ENGAGEMENT GROUP TRUST
298   PUBLIC WORKS THE CENTER FOR THE PUBLIC SECTOR
299   REBELLIOUS TRUTHS
300   REBUILD THE DREAM
301   REBUILD THE DREAM INNOVATION FUND
302   RED RIVER TEA PARTY LLC
303   REDSTATE POLITICS
304   REFORM JERSEY NOW INCORPORATED
305   REFOUNDRI ORG
306   REPUBLIC FREE CHOICE
307   RESCUECALIFORNIA EDUCATION FUND
308   RESTORATION PHILADELPHIA, INC.
309   RESTORE AMERICAS VOICE FOUNDATION


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                      NorCal Tea Party, et. al. v. IRS, et. al.          Attachment A
                             Principal Class Members
310   RESTORING FREEDOM FOUNDATION, INC.
311   RESTORING OHIO, INC.
312   RIGHTCHANGE COM II
313   ROCK RIVER PATRIOTS INC
314   ROCKLIN AREA CHAMBER POLITICAL ACTION COMMITTEE

315   ROMEO AREA TEA PARTY INC
316   ROOF GARDEN PATRIOTS TEA PARTY, INC.
317   RVA ALLIANCE INC
318   SAN ANGELO TEA PARTY, INC.
319   SAN FERNANDO VALLEY PATRIOTS, INC.
320   SAN JUAN COUNTY 912 PROJECT CORPORATION
321   SARASOTA TIGER BAY CLUB, INC.
322   SD CITIZENS FOR LIBERTY
323   SECUREAMERICANOW ORG
324   SEDONA TEA PARTY
325   SIMI VALLEY MOORPARK TEA PARTY
326   SINCERE SEVEN
327   SMART GIRL POLITICS
328   SOUTH CAROLINA FIRST
329   SOUTHEASTERN OHIO 912 PROJECT INC.
330   SOUTHERN OREGON JOBS WITH JUSTICE
331   SPEND SMART AMERICA
332   SPIRIT OF FREEDOM INSTITUTE
333   ST JO MO TEA PARTY LLC
334   STAND UP FOR OUR NATION, INC.
335   STATE AND LOCAL REFORM EDUCATIONAL FOUNDATION
      OF KANSAS, INC.
336   STOP THIS INSANITY, INC. (a/k/a TheTeaParty.net)
337   STRONG AMERICA NOW
338   STRONG ECONOMY FOR GROWTH INC
339   STUDENTS MOVING AMERICA
340   SUMMIT COUNTY PROGRESSIVE DEMOCRATS INC
341   SWFL 912 PROJECT INC
342   TAKE BACK
343   TAKE BACK AMERICA FOR THE PEOPLE
344   TAKE BACK OUR COUNTRY
345   TBD COLORADO
346   TEA PARTY PATRIOTS DENVER, INC.
347   TEA PARTY PATRIOTS FOUNDATION, INC.
348   TEA PARTY PATRIOTS INC.
349   TEA PARTY PATRIOTS OF NORTH IDAHO
350   TEA PARTY PATRIOTS OF SOUTHERN NJ, INC.
351   TEA PARTY RADIO
352   TEA PARTY, INC.
353   TENNESSEE CENTER FOR SELF GOVERNACE
354   TEXAS FAITH AND FREEDOM COALITION


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                            Principal Class Members
355   TEXAS PUENTES INITIATIVE
356   THE 912 PROJECT OF THE LEHIGH
357   THE ADVOCATE FOR DEMOCRACY, INC.
358   THE BROTHER NATHANAEL FOUNDATION
359   THE CARLESON CENTER FOR PUBLIC POLICY
360   THE CENTER FOR ELECTION SCIENCE
361   THE CENTER FOR HEALTH CARE POLICY
362   THE CENTER FOR MARRIAGE POLICY
363   THE COMMON SENSE CAMPAIGN CORP
364   THE COMMUNITY OF LIBERTY CHAPTER ONE
365   THE CURTIS COLEMAN INSTITUTE FOR CONSTITUTIONAL
      POL
366   THE DR JOSEPH WARREN INSTITUTE
367   THE FAMILY FIRST ORGANIZATION INC
368   THE FLINT HILLS TEA PARTY
369   THE FREE AND EQUAL ELECTIONS, LTD
370   THE GADSDEN CENTER INC
371   THE HARD WORK CLEAN HANDS INITIATIVE
372   THE INSTITUTE
373   THE LIBERTY RESTORATION FOUNDATION
374   THE LIBRE INITIATIVE INSTITUTE INC
375   THE LIVING WAGE PROJECT INCORPORATED
376   THE MOTHER LODE TEA PARTY
377   THE OCCUPY DEMOCRACY PROJECT ACTION FUND INC
378   THE OCCUPY DEMOCRACY PROJECT INC
379   THE OHIO LEGISLATIVE BLACK CAUCUS
380   THE SOUTHWEST LOUISIANA TEA PARTY
381   THE TABOR COMMITTEE
382   THE TACOMA 912 PROJECT
383   THE TEA PARTY IN ACTION, INC.
384   THE VETS FOR ECONOMIC FREEDOM
385   THINK TANK TODAY
386   TIE THE KNOT
387   TN FAIR TAX
388   TVAC- NEW MEXICO
389   U-CHOOSE EDUCATION FORUM
390   UNION COUNTY 2020, INC.
391   UNITED RECIPROCITY OF AMERICA
392   UNITED TO RESTORE FREEDOM
393   UNITED WISCONSIN MOVEMENT INC
394   UNSHACKLE UPSTATE INC
395   US COMMON ACTION
396   US HEALTH FREEDOM COALITION, INC.
397   UTAH VOTES, INC.
398   VERMONTERS FOR HEALTH CARE FREEDOM
399   VETERANS AND PATRIOTS UNITED
400   VETERANS IN DEFENSE OF LIBERTY


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                             Principal Class Members
401   VOCES
402   VOLUSIA 912 PATRIOTS, INC.
403   WAYNE COUNTY TEA PARTY, INC.
404   WE THE PEOPLE 501
405   WE THE PEOPLE ALLIANCE INC
406   WE THE PEOPLE EUGENE
407   WE THE PEOPLE IOWA
408   WE THE PEOPLE OF CONNECTICUT INC
409   WE THE PEOPLE OF MARYLAND, INC.
410   WE THE PEOPLE OF NEW YORK INC
411   WE THE PEOPLE OF TEXAS INC TEXAS PATRIOTS TEA PARTY

412 WEST SUBURBAN PATRIOTS
413 WESTERN LIBERTY NETWORK
414 WESTERN SLOPE CONSERVATIVE ALLIANCE
415 WETUMPKA TEA PARTY INC.
416 WHERES THE LINE AMERICA FOUNDATION
417 WIN THE FUTURE AMERICA INC
418 WISCONSIN FAITH AND FREEDOM COALITION INC
419 WISCONSIN SMALL BUSINESSES UNITED INC
420 WORKING FAMILIES UNITED FOR NEW
421 WYOMING CAMPAIGN FOR LIBERTY
422 WYOMING POLICY INSTITUTE
423 YG NETWORK INC
424 YORKTOWN ALLIANCE FOR AUTHENTIC
    CONSTITUTIONALISM
425 YOUNG AMERICANS FOR LIBERTY FOUNDATION
426 YUBA SUTTER TEA PARTY PATRIOTS




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